(Rev. 04/18)

1. NAME

Andrew A Dao

4. DELIVERY ADDRESS OR EMAIL
600 Travis St Suite 7300

8. CASE NUMBER

4:19-cv-001 1

12. CASE NAME

Sanchez v. En Offshore
15. ORDER FOR

ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS

TRANSCRIPT ORDER

2. PHONE NUMBER 3. DATE
13) 223-5393 4/18/2019

5. CITY 6. STATE 7. ZIP CODE
Houston TX 77002

DATES OF PROCEEDINGS
10. FROM 19 11.TO 3/14 19
LOCATION OF PROCEEDINGS
LLC etal 13. CITY 14. STATE Texas

APPEAL [] cRIMINAL [] CRIMINAL JUSTICE ACT [] BANKRUPTCY

NON-APPEAL

CIVIL IN FORMA PAUPERIS OTHER

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

PORTIONS
VOIR DIRE
OPENING STATEMENT
OPENING STATEMENT
CLOSING ARGUMENT
CLOSING ARGUMENT (Defendant)
OPINION OF COURT
JURY INSTRUCTIONS
SENTENCING
BAIL HEARING

ORIGINAL
CATEGORY (Includes Certified Copy to

DA POR
TESTIMONY Witness)

PRE-TRIAL PROCEEDING

OTHER (Specify)
Re Pits Min to 3/15/19
emand
17. ORDER

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18. SIGNA’

19. DATE
4/18/2019

 

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